             Case 4:23-cv-05032-MKD                  ECF No. 13          filed 10/16/23     PageID.83 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_                                         FILED IN THE
                                                     Eastern District of Washington                            U.S. DISTRICT COURT
                                                                                                         EASTERN DISTRICT OF WASHINGTON

                      KATHY ESPINDA,
                                                                                                              Oct 16, 2023
                                                                     )
                                                                                                               SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:23-cv-05032-MKD
                  NICHOLAS K. WASSON,                                )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Pursuant to Federal Rule of Civil Procedure 4(m), this action is DISMISSED without prejudice.
u




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                   Mary K. Dimke




Date: 10/16/2023                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Lee Reams
                                                                                           %\ Deputy Clerk

                                                                            Lee Reams
